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                                                          - 746 -
                                  Nebraska Supreme Court A dvance Sheets
                                          298 Nebraska R eports
                                                ROBINSON v. HOUSTON
                                                  Cite as 298 Neb. 746



                                        Danny R. Robinson, Jr., appellant,
                                            v. Robert Houston et al.,
                                                   appellees.
                                                     ___ N.W.2d ___

                                          Filed January 19, 2018.   No. S-17-287.

                1.	 Judgments: Jurisdiction: Appeal and Error. A jurisdictional issue that
                     does not involve a factual dispute presents a question of law, which an
                     appellate court independently decides.
                2.	 Jurisdiction: Appeal and Error. Before reaching the legal issues
                     presented for review, it is the duty of an appellate court to determine
                     whether it has jurisdiction over the matter before it.
                3.	 Affidavits: Waiver. A litigant lacking sufficient funds to pay the costs,
                     fees, or security may apply to the court to proceed in forma pauperis,
                     having the otherwise required costs, fees, or security waived.
                4.	 Affidavits. Under Neb. Rev. Stat. § 25-2301.02 (Reissue 2016), a
                     party’s application to proceed in forma pauperis must generally be
                     granted unless an objection is raised by another party or the court that
                     the applicant either has sufficient funds to pay costs, fees, or security or
                     is asserting legal positions which are frivolous or malicious.
                5.	 Affidavits: Appeal and Error. Where an objection to an application
                     to proceed in forma pauperis is sustained, Neb. Rev. Stat. § 25-2301.02                     (Reissue 2016) provides the applicant the right to immediately appeal
                     the denial.
                6.	 Statutes: Appeal and Error. Unless a statute provides for an appeal,
                     such right does not exist.
                7.	 Statutes: Intent. When interpreting a statute, the starting point and
                     focus of the inquiry is the meaning of the statutory language, understood
                     in context.
                8.	 Statutes. Silence can be a meaningful indicator of statutory meaning.
                 9.	 ____. It is not within the province of a court to read a meaning into a
                     statute that is not warranted by the legislative language.
                                     - 747 -
                Nebraska Supreme Court A dvance Sheets
                        298 Nebraska R eports
                            ROBINSON v. HOUSTON
                              Cite as 298 Neb. 746
10.	 Statutes: Appeal and Error. An appellate court does not consider
     a statute’s clauses and phrases as detached and isolated expressions.
     Instead, the whole and every part of the statute must be considered in
     fixing the meaning of any of its parts.
11.	 Affidavits: Appeal and Error. The right to interlocutory appeal of an
     in forma pauperis denial in Neb. Rev. Stat. § 25-2301.02(1) (Reissue
     2016) applies only to denials made pursuant to the two bases for denial
     set forth in that subsection.
12.	 Statutes: Prisoners: Affidavits: Appeal and Error. There is no statu-
     tory basis for an interlocutory appeal of a denial of leave to proceed in
     forma pauperis under Neb. Rev. Stat. § 25-3401 (Reissue 2016).
13.	 Judgments: Final Orders: Time: Appeal and Error. An appeal cannot
     be taken from a conditional order purporting to dismiss a pleading in the
     future upon the occurrence of an event.

  Appeal from the District Court for Lancaster County: Robert
R. Otte, Judge. Appeal dismissed.

      Danny R. Robinson, Jr., pro se.

   Douglas J. Peterson, Attorney General, and James D. Smith
for appellees.

      Miller-Lerman, Cassel, Stacy, K elch, and Funke, JJ.

      Cassel, J.
                         INTRODUCTION
    In this appeal, we must determine whether an interlocutory
appeal is authorized under Nebraska’s “three strikes” prisoner
litigation statute,1 which prohibits a prisoner who has previ-
ously filed at least three frivolous civil actions from proceeding
in forma pauperis (IFP) without leave of court. Because we
conclude that neither this statute nor the general IFP statute
provides a right to interlocutory appeal of a “three strikes”
denial and because there was not a final, appealable order, we
dismiss the appeal for lack of jurisdiction.

 1	
      Neb. Rev. Stat. § 25-3401 (Reissue 2016).
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                Nebraska Supreme Court A dvance Sheets
                        298 Nebraska R eports
                            ROBINSON v. HOUSTON
                              Cite as 298 Neb. 746
                         BACKGROUND
    Danny R. Robinson, Jr., sued numerous prison officials,
alleging a myriad of civil rights violations relating to his treat-
ment by prison officials and the conditions of his confinement
at the Nebraska State Penitentiary. The case was filed in the
district court for Johnson County, Nebraska.
    The district court initially sustained Robinson’s motion to
proceed IFP. The court later sustained Robinson’s motion to
transfer the case to Lancaster County, Nebraska. Once the case
was transferred to Lancaster County, the prison officials filed
a motion to reconsider the prior order granting IFP status to
Robinson. They brought to the court’s attention three district
court cases that Robinson had filed in Johnson County District
Court in which Robinson had been denied IFP status, attaching
the denial orders to their motion. Under the heading “Ruling of
the Court,” those orders from the prior cases each stated: “The
Court hereby denies Motion to Proceed [IFP] for reason action
is meritless.”
    After a hearing at which Robinson appeared by telephone,
the Lancaster County District Court sustained the motion to
reconsider and vacated the prior order allowing Robinson to
proceed IFP, pursuant to the “three strikes” provision.2
    The court’s order gave Robinson 30 days to pay the required
filing fee and stated that “[i]f no action is taken the mat-
ter may be dismissed without notice or hearing.” Robinson
immediately appealed the court’s order. He filed a praecipe
requesting a transcript with all of the pleadings in the case, but
failed to request a bill of exceptions. We moved this appeal to
our docket.3
                  ASSIGNMENT OF ERROR
  Robinson’s sole assignment of error is that “[t]he district
court erred in ruling that [Robinson] was ineligible to proceed

 2	
      See § 25-3401(2)(a).
 3	
      Neb. Rev. Stat. § 24-1106(3) (Reissue 2016).
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               Nebraska Supreme Court A dvance Sheets
                       298 Nebraska R eports
                           ROBINSON v. HOUSTON
                             Cite as 298 Neb. 746
[IFP] status based on the assertion that he had previously filed
three frivolous actions.” The prison officials filed a brief chal-
lenging this court’s jurisdiction.
                  STANDARD OF REVIEW
   [1] A jurisdictional issue that does not involve a factual
dispute presents a question of law, which an appellate court
independently decides.4
                          ANALYSIS
   [2] Before reaching the legal issues presented for review,
it is the duty of an appellate court to determine whether it
has jurisdiction over the matter before it.5 The prison officials
argue that because the “three strikes” statute does not authorize
an interlocutory appeal, we lack jurisdiction over Robinson’s
appeal. We agree.
   [3-5] We recognize the existence of Nebraska’s general
statutes regulating proceedings IFP.6 A litigant lacking suf-
ficient funds to pay the costs, fees, or security may apply
to the court to proceed IFP, having the otherwise required
costs, fees, or security waived.7 These general statutes per-
mit a court to authorize the “commencement, prosecution,
defense, or appeal therein, of a civil or criminal case in forma
pauperis.”8 Under § 25-2301.02(1), a party’s application to
proceed IFP must generally be granted unless an objection is
raised by another party or the court that the applicant either
“(a) has sufficient funds to pay costs, fees, or security or
(b) is asserting legal positions which are frivolous or mali-
cious.” Where such an objection is sustained and IFP status

 4	
      Heckman v. Marchio, 296 Neb. 458, 894 N.W.2d 296 (2017).
 5	
      Kozal v. Nebraska Liquor Control Comm., 297 Neb. 938, 902 N.W.2d 147      (2017).
 6	
      See Neb. Rev. Stat. §§ 25-2301 to 25-2310 (Reissue 2016).
 7	
      See § 25-2301.02(1).
 8	
      § 25-2301.01.
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                Nebraska Supreme Court A dvance Sheets
                        298 Nebraska R eports
                             ROBINSON v. HOUSTON
                               Cite as 298 Neb. 746
is denied, § 25-2301.02 provides the applicant the right to
immediately appeal the denial.
   In 2012, the Nebraska Legislature passed into law L.B. 793
in order “to limit frivolous civil actions filed by prisoners.”9
Patterned after a part of the federal Prison Litigation Reform
Act of 1995,10 L.B. 793 (codified at § 25-3401) provides that
a prisoner who has filed three or more civil actions found to
be frivolous may not proceed IFP in any civil case without
leave of court. The statute does not apply to habeas corpus or
postconviction cases, and the “three strikes” bar does not apply
where a court determines that the prisoner “is in danger of seri-
ous bodily injury.”11 Although both the general IFP statutes and
the “three strikes” statute address proceedings IFP, the latter
statute permits a trial court to exercise additional discretion in
a narrow class of cases where a particular litigant is determined
to have filed frivolous actions in the past. In those circum-
stances, a trial court may deny leave to proceed IFP despite
the litigant’s indigence and even though the court may not
be persuaded that the proposed action is frivolous—meaning
wholly without merit, that is, without rational argument based
on the law or on the evidence.12 But the “three strikes” statute
is silent on a prisoner’s right to appeal a denial of IFP pursuant
to this section.13
   [6,7] The question we face here is whether the right to inter-
locutory appeal of an IFP denial in § 25-2301.02 also autho-
rizes a prisoner to appeal the denial of IFP status under the
subsequently enacted “three strikes” provision of § 25-3401.
The legal backdrop for interpreting these statutes is that unless

 9	
      2012 Neb. Laws, L.B. 793.
10	
      28 U.S.C. § 1915(g) (2012); Prison Litigation Reform Act of 1995, Pub. L.
      No. 104-134, §§ 801 and 804, 110 Stat. 1321.
11	
      § 25-3401(2)(a).
12	
      See State v. Carter, 292 Neb. 16, 870 N.W.2d 641 (2015).
13	
      See § 25-3401.
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                 Nebraska Supreme Court A dvance Sheets
                         298 Nebraska R eports
                               ROBINSON v. HOUSTON
                                 Cite as 298 Neb. 746
a statute provides for an appeal, such right does not exist.14
When interpreting a statute, the starting point and focus of the
inquiry is the meaning of the statutory language, understood
in context.15
   [8,9] When reading a statute, what it does not say is often
as important as what it does say.16 Silence can be a meaning-
ful indicator of statutory meaning.17 In adopting the “three
strikes” provision in § 25-3401, the Legislature did not provide
for a right to interlocutory appeal of a denial of IFP status.
Neither does § 25-3401 make reference to the right to appeal in
§ 25-2301.02. Nor was § 25-2301.02 amended to cover “three
strikes” denials of IFP status. As we have often said, “It is not
within the province of this court to read a meaning into a stat-
ute that is not warranted by the legislative language.”18 Thus,
we will not read into § 25-3401 a right to interlocutory appeal
that the Legislature has not seen fit to enact.
   These omissions are magnified by the definition of “[c]ivil
action” in § 25-3401. It defines the term to include not only
“a legal action seeking monetary damages, injunctive relief,
[or] declaratory relief . . . that relates to or involves a pris-
oner’s conditions of confinement,” but also “any appeal filed
in any court in this state” that does likewise.19 In other words,

14	
      Heckman v. Marchio, supra note 4.
15	
      Kozal v. Nebraska Liquor Control Comm., supra note 5. See, also, Hively
      v. Ivy Tech Community College of Indiana, 853 F.3d 339 (7th Cir. 2017)
      (Sykes, J., dissenting; Bauer and Kanne, JJ., join) (statutory interpretation);
      BankDirect Capital v. Plasma Fab, 519 S.W.3d 76 (Tex. 2017) (statutory
      interpretation); Antonin Scalia &amp; Bryan A. Garner, Reading Law: The
      Interpretation of Legal Texts 56-58 (2012).
16	
      See, Stewart v. Nebraska Dept. of Rev., 294 Neb. 1010, 885 N.W.2d 723      (2016); Nebraska Account. &amp; Disclosure Comm. v. Skinner, 288 Neb. 804,
      853 N.W.2d 1 (2014).
17	
      See id.18	
      State v. Gilliam, 292 Neb. 770, 781, 874 N.W.2d 48, 57 (2016), cert.
      denied ___ U.S. ___, 137 S. Ct. 371, 196 L. Ed. 2d 290.
19	
      § 25-3401(1)(a).
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                Nebraska Supreme Court A dvance Sheets
                        298 Nebraska R eports
                             ROBINSON v. HOUSTON
                               Cite as 298 Neb. 746
the requirement of § 25-3401(2)(a) that a prisoner having
three strikes obtain leave of court to proceed IFP applies both
to commencement of an action and to an appeal, so long as
the action or appeal relates to or involves a prisoner’s condi-
tions of confinement. Yet, the Legislature provided no right to
interlocutory appeal of a “three strikes” denial of IFP status in
§ 25-3401.
   [10] And a fundamental principle of statutory interpretation
is that statutory language must always be read in context.20 As
we have said before, an appellate court does not consider a
statute’s clauses and phrases as detached and isolated expres-
sions. Instead, the whole and every part of the statute must be
considered in fixing the meaning of any of its parts.21 Another
way of stating the same principle is that “statutory language is
interpreted in the context in which it is used; not in isolation
but as part of a whole.”22
   [11] In one of the general IFP statutes, context matters.
Section 25-2301.02(1) provides that “[i]f an objection [to an
application to proceed IFP] is sustained, the party filing the
application shall have thirty days after the ruling or issuance
of the statement to proceed with an action or appeal . . . .” But
the “objection” referred to in that sentence refers back to an
earlier part of that subsection: “An application to proceed in
forma pauperis shall be granted unless there is an objection
that the party filing the application (a) has sufficient funds to
pay costs, fees, or security or (b) is asserting legal positions
which are frivolous or malicious.”23 Thus, when the right to
interlocutory appeal of an IFP denial in § 25-2301.02(1)
is read in context, it becomes clear that it applies only to

20	
      Scalia &amp; Garner, supra note 15. See, also, Matter of Sinclair, 870 F.2d
      1340 (7th Cir. 1989) (importance of context in statutory interpretation).
21	
      Doty v. West Gate Bank, 292 Neb. 787, 874 N.W.2d 839 (2016).
22	
      State ex rel. Kalal v. Dane County, 271 Wis. 2d 633, 663, 681 N.W.2d 110,
      124 (2004).
23	
      § 25-2301.02(1) (emphasis supplied).
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                Nebraska Supreme Court A dvance Sheets
                        298 Nebraska R eports
                            ROBINSON v. HOUSTON
                              Cite as 298 Neb. 746
denials made pursuant to the two bases for denial set forth in
that subsection.
   [12] Because the right to interlocutory appeal of a denial
of an application to proceed IFP in § 25-2301.02(1) applies
only to the two bases for denial in that subsection and because
§ 25-3401 provides no right to interlocutory appeal, there is no
statutory basis for an interlocutory appeal of a “three strikes”
denial of IFP status under § 25-3401. Thus, Robinson’s attempt
to appeal immediately had no statutory basis.
   [13] Moreover, the order from which Robinson attempted
to appeal was not a final order under the general statutes gov-
erning appeals.24 Rather, it was a conditional order. The order
required Robinson to pay the filing fee within 30 days or face
dismissal. Thus, it did not actually dismiss the action. Nor
was the action automatically dismissed upon expiration of the
30-day period. We have long held that an appeal cannot be
taken from a conditional order purporting to dismiss a plead-
ing in the future upon the occurrence of an event.25 Thus, our
record shows that at the time of Robinson’s attempted appeal,
there was no final, appealable order.
                         CONCLUSION
   Because there was no statutory basis for an interlocutory
appeal of the district court’s order and because the order was
not a final order, we lack appellate jurisdiction to review the
district court’s order. Therefore, we dismiss this appeal.
                                              A ppeal dismissed.
   Heavican, C.J., and Wright, J., not participating.

24	
      See Neb. Rev. Stat. § 25-1902 (Reissue 2016).
25	
      Nichols v. Nichols, 288 Neb. 339, 847 N.W.2d 307 (2014).
